       Case 17-03485-KRH                Doc 3 Filed 05/12/17 Entered 05/12/17 09:28:19                                 Desc Summons
                                             Answer Only HDL Inc. Page 1 of 2
                                                 United States Bankruptcy Court
                                                        Eastern District of Virginia
                                                            Richmond Division
                                                                           Case Number 15−32919−KRH
                                                                           Chapter 11
In re:                                                                     Adversary Proceeding Number 17−03485−KRH
Health Diagnostic Laboratory, Inc.                                         Judge Kevin R. Huennekens
                                                              Debtor(s)
Richard Arrowsmith, Liquidating Trustee
                                                            Plaintiff(s)
V.
Southern Medical Group, LLC et al.
                                                          Defendant(s)

                               SUMMONS AND NOTICE IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and will be required to submit a motion or answer in the complaint, which is attached to this
summons to the Clerk of the Bankruptcy Court prior to trial. You have thirty days from the date of service of this summons to
respond to the complaint. Pursuant to the Order entered May 26, 2016, on the Debtors' Motion to Establish Procedures
Governing Avoidance Action Adversary Proceedings, a copy of which is also attached to this summons, this proceeding is
stayed until further order of the Court. The stay imposed hereto includes, but is not limited to, the requirement to hold a pretrial
conference, conduct formal discovery (including discovery related motions practice), amended pleadings (including
complaints), and file dispositive motions and response thereto. Upon the lifting of the stay, after the completion of the
mediation procedures described in the Courts' May 26, 2016 Order, the court shall issue a scheduling order for this case.

                                           William C. Redden
                                           United States Bankruptcy Court
ADDRESS OF CLERK:                          701 East Broad Street
                                           Richmond, VA 23219

You must serve a copy of your motion or answer upon the plaintiff's attorney.

                                           Cullen Drescher Speckhart
                                           Wolcott Rivers Gates
NAME AND ADDRESS OF                        919 E. Main Street
PLAINTIFF'S ATTORNEY:                      Suite 1040
                                           Richmond, VA 23219

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be scheduled
by the Court at a later date.

IF YOU FAIL TO RESPOND TO THIS SUMMONS OR IF YOU OTHERWISE FAIL TO COMPLY WITH THE ORDER
ENTERED MAY 26, 2016, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU
FOR THE RELIEF DEMANDED IN THE COMPLAINT.

                                                                           WILLIAM C. REDDEN, CLERK OF COURT
Date: May 12, 2017                                                         By /s/ Candace Manley
                                                                           Deputy Clerk
             [Note: It is the responsibility of counsel for the plaintiff/movant to advise the Court of any settlement or any other valid reason that a
             Court scheduled pretrial conference, hearing or trial need not be conducted. Counsel are advised to provide the Court with such
             notification as far in advance of any such conference, hearing or trial as is practical under the circumstances. Failure of such counsel to
             properly and timely notify the Court may result in the imposition of sanctions. Local Bankruptcy Rule 9013−1(O)].
             [ver. B250HDLvJune2016.jsp]
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                                                                   Bankruptcy Case No. 15−32919−KRH
                                                                   Adversary Proceeding Case No. 17−03485−KRH



                                                 CERTIFICATE OF SERVICE

I, ______________________________________________________ (name), certify that I am, and at all times during the
service of process was, not less than 18 years of age and not a party to the matter concerning which service of process was
made. I further certify that the service of this summons and a copy of the complaint was made
___________________________________ (date) by:

             Mail Service: Regular, first class United States mail, postage fully pre−paid, addressed to:



             Personal Service: By leaving the process with defendant or with an officer or agent of defendant at:



             Residence Service: By leaving the process with the following adult at:



             Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail
             addressed to the following officer of the defendant at:



             Publication: The defendant was served as follows: [Describe briefly]



             State Law: The defendant was served pursuant to the laws of the State of
             ___________________________________ (name of state), as follows: [Describe briefly]



Under penalty of perjury, I declare that the foregoing is true and correct.


___________________________________________________ ___________________________________________________
                        Date                                              Signature
                     Print Name
                     ___________________________________________________________________________________
                     Business Address
                     ___________________________________________________________________________________
                     City             State       Zip
